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ATTORNEYS FOR PLAINTIFF
J&J NEW JERSEY, LLC


                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY
                             CAMDEN VICINAGE

J&J NEW JERSEY, LLC,             )
                                 )
          Plaintiff,             )
                                 ) Civil Case No.: 3:13-cv-05096-PGS-
     vs.                         ) DEA
                                 )
UNITY CONSTRUCTION SERVICES,     )            CIVIL ACTION
INC., ATA/BEILHARZ ARCHITECTS,   )
LLC, KOHRS LONNEMANN HEIL        )        NOTICE OF MOTION FOR
                                 ) RECONSIDERATION BY PLAINTIFF J&J
ENGINEERS, PSC, FRANK MELI d/b/a
                                 )           NEW JERSEY, LLC
MELI PLUMBING & HEATING, INC., )
MELI PLUMBING & HEATING, INC., )
AND NAI DILEO-BRAM PROPERTY      )
MANAGEMENT, LLC,                 )
                                 )
                                 )
Defendants.                      )

TO:   ALL COUNSEL

      PLEASE TAKE NOTICE that on June 15, 2015, or as soon

thereafter as counsel may be heard, the undersigned, attorneys

for Plaintiff J&J New Jersey, LLC, shall apply to the Honorable

Peter G. Sheridan, U.S.D.J., at the United States Courthouse,
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Trenton, New Jersey, for an Order granting this Motion for

Reconsideration.

      PLEASE TAKE FURTHER NOTICE that oral argument is requested.

      PLEASE TAKE FURTHER NOTICE that a Memorandum of Law,

proposed form of Order, Exhibits and Certification of Steven A.

Berkowitz are annexed hereto and made a part hereof.




                                          Respectfully submitted,


Dated:      May 14, 2015
                                          /s/ Steven A. Berkowitz
                                          Steven A. Berkowitz
                                          Berkowitz & Associates, P.C.
                                          10000 Lincoln Drive East
                                          Suite 202
                                          Marlton, New Jersey 08053




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